Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 1 of 40 PageID #:30




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Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 2 of 40 PageID #:31
         Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 3 of 40 PageID #:32
UL RS IAA
            Assessor agrees to promptly notify the UL of any change in any laws, regulations or other legal requirements that may affect its
            performance of this Agreement.

     3.3    Assesor represents and warrants that during the term of this Agreement it shall not cause UL to violate any U.S. trade sanction
            laws administered by the U.S. Department of Treasury, Office of Foreign Asset Control (http://www.ustreas.gov/ofac), shall
            obtain all applicable export licenses, and shall ensure that any payments made to or by UL or its affiliates will not be paid from
            or deposited into a financial institution and account subject to any U.S. trade sanction law. The UL has the right to terminate
            the Agreement immediately if it is prohibited by U.S. law from doing business with Assessor.

     3.4    Assessor shall prepare and maintain complete and accurate records and reports of all Assessments in such form and for such
            time as designated by UL. Immediately after each Assessment, Assessor shall send the Assessment report to the individual,
            department and location designated by UL. All air travel must be pre-approved by UL in advance. All approved air travel
            must be arranged at the lowest available fare consistent with scheduling for work efficiencies.

     3.5    UL shall have all right, title and interest in all records and documents pertaining to the Assessments. All records and
            documents that Assessor creates pertaining to the Assessments are "works made for hire" on behalf of UL within the meaning
            and purview of Section 101 of the United States Copyright Act, 17 U.S.C. Section 101, and UL will be the copyright owner of
            such records and documents. Upon UL's request, Assessor shall provide UL with all documents, information or assistance
            necessary to enable UL to perfect and protect its copyrights in any materials produced as a result of this Agreement. All
            materials UL provides to Assessor relating to the Assessments are property of UL, and Assessor may not sell or distribute the
            materials to any third parties.

     3.6    Assessor shall permit UL’s representatives, announced and unannounced, to attend the Assessments.

     3.7    Assessor shall inform UL in writing of the name of the person who will act as the Assessment coordinator and the names of the
            persons who will conduct the Assessments. Upon request, Assessor shall provide UL with curriculum vitae of its personnel
            who will conduct Assessments. Only personnel who have UL's prior written approval shall perform the Assessments.
            Assessor shall notify UL in advance of any proposed change in personnel conducting Assessments. At UL's request, Assessor
            shall promptly replace any of its personnel who conduct Assessments for UL. Assessor shall not use subcontractors to perform
            Assessments without UL's prior written consent.

     3.8    UL is entitled to inspect and review all services provided under this Agreement for conformity with Assessor’s obligations
            under this Agreement.

4.   Marks - No licenses, express or implied, for any trademarks, service marks, certification marks (collectively referred to as “Marks”)
     or copyrights are granted to either party or any third party. Assessor shall not authorize any person to use UL’s Marks. Each party
     will be solely responsible for authorization, use and control of its marks. However, each party agrees to notify the other if it is learned
     that a third party's use of the other party's mark is improper.

5.   Advertising and Promotion - Assessor may not refer to itself as a UL "accredited" organization. Assessor may not refer to or use
     UL's name, or any name of any subsidiary or affiliate of UL, or any UL Mark in advertising, promotions or otherwise orally or in
     written materials, including, specifically, but not limited to, business cards, except with UL's prior written consent.

6.   Fees and Expenses - UL shall invoice its Clients directly and pay Assessor for each Assessment completed at least at the minimum of
     the rates provided in Schedule A within fifteen (15) days of receiving Assessor's invoice and/or required supporting documentation.
     Rates paid are subject to change based on location and complexity of the Assessment and will be made known to Assessor prior to
     such Assessment taking place.

7.   Confidentiality

     7.1    Assessor shall not voluntarily disclose information obtained by Assessor from UL or its client(s) (“Confidential Information”)
            to any third party, without the prior written consent of UL. The term “Confidential Information” as used herein means and
            includes any and all data or information and documentation relating to the business of UL or its client(s) that is not generally
            known to the public or readily obtainable from outside sources. Confidential Information includes, by way of example and
            without limitation, the following: financial information, including but not limited to earnings, assets, debts, prices, cost
            information, budgets, sales and profit projections or other financial data; information used in the preparation and auditing of
            financial statements; marketing information, including but not limited to details about ongoing or proposed marketing
            strategies, marketing forecasts, or information about impending transactions; product information, including but not limited to
            development plans, product designs, product costs and pricing policies; information regarding actual or potential customers;
            employee information, compensation information and recruiting plans. Assessor acknowledges that such information is
            confidential whether or not such information is labeled as such by UL or UL’s client(s). Assessor may disclose audit results to
            UL and its client(s) immediately upon the completion of the audit. Assessor shall protect Confidential Information with the
            same degree of care that it uses to protect its own confidential information of a similar nature and never use less than a

                                                                Page 2 of 6
         Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 4 of 40 PageID #:33
UL RS IAA
           reasonable degree of care to protect Confidential Information, which may include requiring its employees, if any, to sign
           appropriate nondisclosure agreements to comply with the terms of this Agreement.

     7.2   Confidential Information shall not include information or material that is (a) in the public domain other than due to a violation
           of this Agreement; (b) documented by competent evidence to be known to Assessor before disclosure by Assessor under this
           Agreement and without violation of any confidentiality obligation owed to UL or any third party; or (c) independently
           developed by Assessor without reference or access to the Confidential Information, as demonstrated by competent evidence. If
           Assessor is required by law or regulatory authority to disclose any Confidential Information, Assessor shall: (a) promptly
           notify UL in writing upon receipt of the request; (b) reasonably assist the UL to obtain a protective order or other remedy of
           UL's election; (c) provide UL prior review of any disclosure; (d) provide only that portion of the Confidential Information that
           is legally required; and (e) make reasonable efforts to obtain reliable assurance that the Confidential Information shall be
           maintained in confidence.

     7.3   Assessor agrees that all aspects of the services performed on behalf of UL and its clients, including without limitation the
           number and frequency of Assessments, shall be kept confidential.

     7.4   Assessor hereby authorizes UL to transmit unencrypted confidential information and other information through the Internet or a
           public network to e-mail addresses or other locations provided by Assessor. Assessor acknowledges that the UL cannot
           guarantee the privacy and confidentiality of such transmissions. Assessor agrees that UL’s transmission of confidential
           information via the Internet of other public network shall not be a breach of any confidentiality obligation under this
           Agreement and that UL shall not be liable for any damages resulting from such transmissions.

8.   Independent Entities - The assessor is an independent person/entity and is not affiliated with or influenced or controlled by
     manufacturers, producers, suppliers or vendors of products in any manner that might affect their capacities to render reports of
     findings objectively and without bias. Specifically, he/she represents and warrants that, during the term of this Agreement:

     (a)   There shall be no managerial affiliation with manufacturers, producers, suppliers or vendors;

     (b)   the results of his/her work shall accrue no financial benefits via stock ownership or the like to any manufacturers, producers,
           suppliers or vendors of the products involved;

     (c)   there shall be a sufficient breadth of interest or activity such that the loss or award of a specific contract to determine
           compliance of a manufacturer’s, producer's, supplier's or vendor's facility or product with the applicable requirements or
           standards would not be a determinative factor in their financial well-being; and

     (d)   his/her employment security status shall be free of influence or control of manufacturers, producers, suppliers and vendors.

9.   Nature of Relationship

     9.1   The parties intend to create only an independent contractor relationship. This Agreement shall not create an agency or
           employment relationship, partnership, joint venture, or other business group or concerted action between the parties. Assessor
           acknowledges that at no time will it consider itself to be an employee, agent, partner or joint ventureer of UL. Neither party is
           authorized to incur any obligations on behalf of, or to bind the other in any respect. UL will not exercise any control over the
           manner and means by which Assessor performs the Assessments. Assessor understands that Assessor is not entitled to any of
           the rights, benefits, or compensation extended by UL to its employees.

     9.2   Each party and each party's personnel, if such exists, shall at all times be under that party's exclusive direction and control and
           shall not be employees of the other party. Where applicable each party shall pay all wages, salaries and other amounts due its
           employees in connection with Assessments performed under this Agreement and without limitation shall be responsible for all
           reports and obligations respecting their relationship. Prior to entering into this Agreement and once yearly thereafter, for
           each individual that Assessor employs that renders services to UL, Assessor shall provide UL with evidence of payment
           of wages, salaries, benefits, contributions to social security, and/or any other payments Assessor is required by law to
           pay its employees. UL will not pay any fees due to Assessor until evidence satisfactory to UL has been provided.

     9.3   Assessor agrees that no income, social security, or other taxes or amounts shall be withheld or accrued by UL for Assessor’s
           benefit. Assessor will be responsible for withholding, accruing, reporting, and paying all income, social security, and other
           taxes and amounts required by law for all compensation hereunder. Assessor agrees to indemnify, defend and hold harmless
           UL for any claims, losses, costs, fees, liabilities, damages or injuries arising out of Assessor’s breach of this section. Assessor
           agrees that UL makes no representations or warranties regarding the taxability of the sums received by Assessor.

     9.4   Assessor acknowledges and agrees that UL had its own pre-existing relationship with UL Clients (as defined in paragraph 1.1,
           above.) Assessor acknowledges and agrees that UL has introduced and/or will introduce Assessor to UL Clients and that the
           Assessor would not have been able to have a business relationship with any UL Client without UL’s disclosure. Assessor

                                                               Page 3 of 6
         Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 5 of 40 PageID #:34
UL RS IAA
             agrees that, during the term of this Agreement and for a period of two (2) years after the last day it is on a UL related
             assignment, it will not solicit, accept business from or conduct any work related to the work it conducts under this agreement
             for any UL Client, on behalf of any entity or individual other than UL.

10.   Conflict of Interest – Assessor: (i) shall not use its position for personal financial gain; (ii) shall not accept any personal advantage
      from anyone under circumstances which might reasonably be interpreted as an attempt to influence the recipients in the conduct of
      their duties; (iii) shall not extend any special favor to employees of UL under circumstances which might reasonably be interpreted as
      an attempt to influence them in the conduct of their duties; (iv) shall not have been involved in any way with designing the product,
      process or system to be assessed; and (v) if an agent authorized by an UL client(s), shall not have any crossover or sharing of
      information between its employees who conduct Assessments and its employees who act as agents authorized by an UL clients.
      Assessor must immediately disclose to UL actual or potential conflicts of interest, including any business relationship and/or any
      financial interest of an UL employee in the Assessor’s business.

11.   Insurance - Without limiting in any way Assessor's indemnification obligations under this Agreement, Assessor shall maintain
      adequate insurance and limits of liability including but not limited to automobile coverage and where possible general and
      professional liability coverage. Assessor shall name UL as an additional insured on each policy and shall provide to UL upon its
      request the Certificate(s) of Insurance evidencing all coverage(s). Assessor shall notify UL in writing no later than ten (10) days
      before any policy for the required insurance is canceled or modified.

12.   Indemnification - Assessor agrees to assume all risk of loss and to defend, indemnify and hold harmless UL, its successors and
      assigns, members, trustees, officers, employees and agents from and against any and all liabilities, demands, claims, suits, losses,
      damages, causes of actions, fines or judgments, including costs, attorneys' and witnesses' fees of counsel of the UL Contracting Party’s
      choosing for injuries to persons (including death) and for loss of, damage to or destruction of property (including property of the UL's
      clients) due to the Assessor’s gross negligence or willful misconduct arising in connection with the Assessment or this Agreement,
      unless caused by UL’s gross negligence or willful misconduct.

13.   Governing Law       Unless specifically prohibited by law, the parties agree that the laws of the State of Oregon, USA will apply to
      this Agreement, without reference to its choice of law principles.

14.   Termination

      14.1   Either party may terminate this Agreement upon ninety (90) days' written notice.

      14.2   UL shall have the right to terminate this Agreement immediately if any of the following events occur: (i) Assessor fails to
             comply with any provision of this Agreement; (ii) Assessor suspends its payments, is bankrupt, is unable to pay debts when
             due, enters into liquidation or takes or suffers any similar action in consequence of its debts, whether voluntary or compulsory;
             (iii) a change in ownership of a controlling interest in Assessor, without UL's prior written consent; (iv) any misrepresentation
             by Assessor in connection with this Agreement; or (v) any trade sanction or embargo is imposed by the U.S. government upon
             the country in which Assessor is located or incorporated.

      14.3   Upon termination of this Agreement, Assessor will discontinue Assessments and shall promptly deliver to UL all records and
             documents in connection with Assessments performed for the UL, as well as all documents, equipment, and other UL property
             UL had provided to Assessor.

      14.4   The provisions of Paragraphs 7 (Confidentiality), 12 (Indemnification), 14 (Resolving Disputes), 18 (No Waiver),
             20 (No Third-Party Beneficiaries), 22 (Notice) and 23 (Severability) shall survive the termination of this Agreement.

15.   Country Specific Terms and Conditions - If there are changes to the terms of this Agreement for countries outside of the United
      States, then those terms will be set forth in Schedule B of this Agreement and supersede any conflicting terms in this Agreement. All
      other terms and conditions in this Agreement remain in full force and effect.

16.   Entire Agreement - This Agreement constitutes the entire understanding of the parties and supersedes all prior communications,
      understandings, representations, negotiations and discussions, written or oral, between the parties regarding its subject matter. If any
      purchase order submitted in connection with this Agreement conflicts with this Agreement, this Agreement shall prevail.

17.   No Waiver - A party's failure to insist upon the other party's performance of this Agreement or any of its provisions shall not
      constitute a waiver of any rights under the Agreement.

20.   No Assignment - Neither party may assign or transfer, in whole or in part, its rights under this Agreement without the other party's
      written consent. Notwithstanding the foregoing, UL may assign or transfer, in whole or in part, its obligations under this Agreement
      to a UL Contracting Party parent, subsidiary, branch or affiliate solely at the discretion of UL and without notice.



                                                                Page 4 of 6
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 6 of 40 PageID #:35
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 7 of 40 PageID #:36
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 8 of 40 PageID #:37




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Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 9 of 40 PageID #:38
        Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 10 of 40 PageID #:39
UL RS IAA
            Assessor agrees to promptly notify the UL of any change in any laws, regulations or other legal requirements that may affect its
            performance of this Agreement.

     3.3    Assesor represents and warrants that during the term of this Agreement it shall not cause UL to violate any U.S. trade sanction
            laws administered by the U.S. Department of Treasury, Office of Foreign Asset Control (http://www.ustreas.gov/ofac), shall
            obtain all applicable export licenses, and shall ensure that any payments made to or by UL or its affiliates will not be paid from
            or deposited into a financial institution and account subject to any U.S. trade sanction law. The UL has the right to terminate
            the Agreement immediately if it is prohibited by U.S. law from doing business with Assessor.

     3.4    Assessor shall prepare and maintain complete and accurate records and reports of all Assessments in such form and for such
            time as designated by UL. Immediately after each Assessment, Assessor shall send the Assessment report to the individual,
            department and location designated by UL. All air travel must be pre-approved by UL in advance. All approved air travel
            must be arranged at the lowest available fare consistent with scheduling for work efficiencies.

     3.5    UL shall have all right, title and interest in all records and documents pertaining to the Assessments. All records and
            documents that Assessor creates pertaining to the Assessments are "works made for hire" on behalf of UL within the meaning
            and purview of Section 101 of the United States Copyright Act, 17 U.S.C. Section 101, and UL will be the copyright owner of
            such records and documents. Upon UL's request, Assessor shall provide UL with all documents, information or assistance
            necessary to enable UL to perfect and protect its copyrights in any materials produced as a result of this Agreement. All
            materials UL provides to Assessor relating to the Assessments are property of UL, and Assessor may not sell or distribute the
            materials to any third parties.

     3.6    Assessor shall permit UL’s representatives, announced and unannounced, to attend the Assessments.

     3.7    Assessor shall inform UL in writing of the name of the person who will act as the Assessment coordinator and the names of the
            persons who will conduct the Assessments. Upon request, Assessor shall provide UL with curriculum vitae of its personnel
            who will conduct Assessments. Only personnel who have UL's prior written approval shall perform the Assessments.
            Assessor shall notify UL in advance of any proposed change in personnel conducting Assessments. At UL's request, Assessor
            shall promptly replace any of its personnel who conduct Assessments for UL. Assessor shall not use subcontractors to perform
            Assessments without UL's prior written consent.

     3.8    UL is entitled to inspect and review all services provided under this Agreement for conformity with Assessor’s obligations
            under this Agreement.

4.   Marks - No licenses, express or implied, for any trademarks, service marks, certification marks (collectively referred to as “Marks”)
     or copyrights are granted to either party or any third party. Assessor shall not authorize any person to use UL’s Marks. Each party
     will be solely responsible for authorization, use and control of its marks. However, each party agrees to notify the other if it is learned
     that a third party's use of the other party's mark is improper.

5.   Advertising and Promotion - Assessor may not refer to itself as a UL "accredited" organization. Assessor may not refer to or use
     UL's name, or any name of any subsidiary or affiliate of UL, or any UL Mark in advertising, promotions or otherwise orally or in
     written materials, including, specifically, but not limited to, business cards, except with UL's prior written consent.

6.   Fees and Expenses - UL shall invoice its Clients directly and pay Assessor for each Assessment completed at least at the minimum of
     the rates provided in Schedule A within fifteen (15) days of receiving Assessor's invoice and/or required supporting documentation.
     Rates paid are subject to change based on location and complexity of the Assessment and will be made known to Assessor prior to
     such Assessment taking place.

7.   Confidentiality

     7.1    Assessor shall not voluntarily disclose information obtained by Assessor from UL or its client(s) (“Confidential Information”)
            to any third party, without the prior written consent of UL. The term “Confidential Information” as used herein means and
            includes any and all data or information and documentation relating to the business of UL or its client(s) that is not generally
            known to the public or readily obtainable from outside sources. Confidential Information includes, by way of example and
            without limitation, the following: financial information, including but not limited to earnings, assets, debts, prices, cost
            information, budgets, sales and profit projections or other financial data; information used in the preparation and auditing of
            financial statements; marketing information, including but not limited to details about ongoing or proposed marketing
            strategies, marketing forecasts, or information about impending transactions; product information, including but not limited to
            development plans, product designs, product costs and pricing policies; information regarding actual or potential customers;
            employee information, compensation information and recruiting plans. Assessor acknowledges that such information is
            confidential whether or not such information is labeled as such by UL or UL’s client(s). Assessor may disclose audit results to
            UL and its client(s) immediately upon the completion of the audit. Assessor shall protect Confidential Information with the
            same degree of care that it uses to protect its own confidential information of a similar nature and never use less than a

                                                                Page 2 of 6
        Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 11 of 40 PageID #:40
UL RS IAA
           reasonable degree of care to protect Confidential Information, which may include requiring its employees, if any, to sign
           appropriate nondisclosure agreements to comply with the terms of this Agreement.

     7.2   Confidential Information shall not include information or material that is (a) in the public domain other than due to a violation
           of this Agreement; (b) documented by competent evidence to be known to Assessor before disclosure by Assessor under this
           Agreement and without violation of any confidentiality obligation owed to UL or any third party; or (c) independently
           developed by Assessor without reference or access to the Confidential Information, as demonstrated by competent evidence. If
           Assessor is required by law or regulatory authority to disclose any Confidential Information, Assessor shall: (a) promptly
           notify UL in writing upon receipt of the request; (b) reasonably assist the UL to obtain a protective order or other remedy of
           UL's election; (c) provide UL prior review of any disclosure; (d) provide only that portion of the Confidential Information that
           is legally required; and (e) make reasonable efforts to obtain reliable assurance that the Confidential Information shall be
           maintained in confidence.

     7.3   Assessor agrees that all aspects of the services performed on behalf of UL and its clients, including without limitation the
           number and frequency of Assessments, shall be kept confidential.

     7.4   Assessor hereby authorizes UL to transmit unencrypted confidential information and other information through the Internet or a
           public network to e-mail addresses or other locations provided by Assessor. Assessor acknowledges that the UL cannot
           guarantee the privacy and confidentiality of such transmissions. Assessor agrees that UL’s transmission of confidential
           information via the Internet of other public network shall not be a breach of any confidentiality obligation under this
           Agreement and that UL shall not be liable for any damages resulting from such transmissions.

8.   Independent Entities - The assessor is an independent person/entity and is not affiliated with or influenced or controlled by
     manufacturers, producers, suppliers or vendors of products in any manner that might affect their capacities to render reports of
     findings objectively and without bias. Specifically, he/she represents and warrants that, during the term of this Agreement:

     (a)   There shall be no managerial affiliation with manufacturers, producers, suppliers or vendors;

     (b)   the results of his/her work shall accrue no financial benefits via stock ownership or the like to any manufacturers, producers,
           suppliers or vendors of the products involved;

     (c)   there shall be a sufficient breadth of interest or activity such that the loss or award of a specific contract to determine
           compliance of a manufacturer’s, producer's, supplier's or vendor's facility or product with the applicable requirements or
           standards would not be a determinative factor in their financial well-being; and

     (d)   his/her employment security status shall be free of influence or control of manufacturers, producers, suppliers and vendors.

9.   Nature of Relationship

     9.1   The parties intend to create only an independent contractor relationship. This Agreement shall not create an agency or
           employment relationship, partnership, joint venture, or other business group or concerted action between the parties. Assessor
           acknowledges that at no time will it consider itself to be an employee, agent, partner or joint ventureer of UL. Neither party is
           authorized to incur any obligations on behalf of, or to bind the other in any respect. UL will not exercise any control over the
           manner and means by which Assessor performs the Assessments. Assessor understands that Assessor is not entitled to any of
           the rights, benefits, or compensation extended by UL to its employees.

     9.2   Each party and each party's personnel, if such exists, shall at all times be under that party's exclusive direction and control and
           shall not be employees of the other party. Where applicable each party shall pay all wages, salaries and other amounts due its
           employees in connection with Assessments performed under this Agreement and without limitation shall be responsible for all
           reports and obligations respecting their relationship. Prior to entering into this Agreement and once yearly thereafter, for
           each individual that Assessor employs that renders services to UL, Assessor shall provide UL with evidence of payment
           of wages, salaries, benefits, contributions to social security, and/or any other payments Assessor is required by law to
           pay its employees. UL will not pay any fees due to Assessor until evidence satisfactory to UL has been provided.

     9.3   Assessor agrees that no income, social security, or other taxes or amounts shall be withheld or accrued by UL for Assessor’s
           benefit. Assessor will be responsible for withholding, accruing, reporting, and paying all income, social security, and other
           taxes and amounts required by law for all compensation hereunder. Assessor agrees to indemnify, defend and hold harmless
           UL for any claims, losses, costs, fees, liabilities, damages or injuries arising out of Assessor’s breach of this section. Assessor
           agrees that UL makes no representations or warranties regarding the taxability of the sums received by Assessor.

     9.4   Assessor acknowledges and agrees that UL had its own pre-existing relationship with UL Clients (as defined in paragraph 1.1,
           above.) Assessor acknowledges and agrees that UL has introduced and/or will introduce Assessor to UL Clients and that the
           Assessor would not have been able to have a business relationship with any UL Client without UL’s disclosure. Assessor

                                                               Page 3 of 6
        Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 12 of 40 PageID #:41
UL RS IAA
             agrees that, during the term of this Agreement and for a period of two (2) years after the last day it is on a UL related
             assignment, it will not solicit, accept business from or conduct any work related to the work it conducts under this agreement
             for any UL Client, on behalf of any entity or individual other than UL.

10.   Conflict of Interest – Assessor: (i) shall not use its position for personal financial gain; (ii) shall not accept any personal advantage
      from anyone under circumstances which might reasonably be interpreted as an attempt to influence the recipients in the conduct of
      their duties; (iii) shall not extend any special favor to employees of UL under circumstances which might reasonably be interpreted as
      an attempt to influence them in the conduct of their duties; (iv) shall not have been involved in any way with designing the product,
      process or system to be assessed; and (v) if an agent authorized by an UL client(s), shall not have any crossover or sharing of
      information between its employees who conduct Assessments and its employees who act as agents authorized by an UL clients.
      Assessor must immediately disclose to UL actual or potential conflicts of interest, including any business relationship and/or any
      financial interest of an UL employee in the Assessor’s business.

11.   Insurance - Without limiting in any way Assessor's indemnification obligations under this Agreement, Assessor shall maintain
      adequate insurance and limits of liability including but not limited to automobile coverage and where possible general and
      professional liability coverage. Assessor shall name UL as an additional insured on each policy and shall provide to UL upon its
      request the Certificate(s) of Insurance evidencing all coverage(s). Assessor shall notify UL in writing no later than ten (10) days
      before any policy for the required insurance is canceled or modified.

12.   Indemnification - Assessor agrees to assume all risk of loss and to defend, indemnify and hold harmless UL, its successors and
      assigns, members, trustees, officers, employees and agents from and against any and all liabilities, demands, claims, suits, losses,
      damages, causes of actions, fines or judgments, including costs, attorneys' and witnesses' fees of counsel of the UL Contracting Party’s
      choosing for injuries to persons (including death) and for loss of, damage to or destruction of property (including property of the UL's
      clients) due to the Assessor’s gross negligence or willful misconduct arising in connection with the Assessment or this Agreement,
      unless caused by UL’s gross negligence or willful misconduct.

13.   Governing Law       Unless specifically prohibited by law, the parties agree that the laws of the State of Oregon, USA will apply to
      this Agreement, without reference to its choice of law principles.

14.   Termination

      14.1   Either party may terminate this Agreement upon ninety (90) days' written notice.

      14.2   UL shall have the right to terminate this Agreement immediately if any of the following events occur: (i) Assessor fails to
             comply with any provision of this Agreement; (ii) Assessor suspends its payments, is bankrupt, is unable to pay debts when
             due, enters into liquidation or takes or suffers any similar action in consequence of its debts, whether voluntary or compulsory;
             (iii) a change in ownership of a controlling interest in Assessor, without UL's prior written consent; (iv) any misrepresentation
             by Assessor in connection with this Agreement; or (v) any trade sanction or embargo is imposed by the U.S. government upon
             the country in which Assessor is located or incorporated.

      14.3   Upon termination of this Agreement, Assessor will discontinue Assessments and shall promptly deliver to UL all records and
             documents in connection with Assessments performed for the UL, as well as all documents, equipment, and other UL property
             UL had provided to Assessor.

      14.4   The provisions of Paragraphs 7 (Confidentiality), 12 (Indemnification), 14 (Resolving Disputes), 18 (No Waiver),
             20 (No Third-Party Beneficiaries), 22 (Notice) and 23 (Severability) shall survive the termination of this Agreement.

15.   Country Specific Terms and Conditions - If there are changes to the terms of this Agreement for countries outside of the United
      States, then those terms will be set forth in Schedule B of this Agreement and supersede any conflicting terms in this Agreement. All
      other terms and conditions in this Agreement remain in full force and effect.

16.   Entire Agreement - This Agreement constitutes the entire understanding of the parties and supersedes all prior communications,
      understandings, representations, negotiations and discussions, written or oral, between the parties regarding its subject matter. If any
      purchase order submitted in connection with this Agreement conflicts with this Agreement, this Agreement shall prevail.

17.   No Waiver - A party's failure to insist upon the other party's performance of this Agreement or any of its provisions shall not
      constitute a waiver of any rights under the Agreement.

20.   No Assignment - Neither party may assign or transfer, in whole or in part, its rights under this Agreement without the other party's
      written consent. Notwithstanding the foregoing, UL may assign or transfer, in whole or in part, its obligations under this Agreement
      to a UL Contracting Party parent, subsidiary, branch or affiliate solely at the discretion of UL and without notice.



                                                                Page 4 of 6
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 13 of 40 PageID #:42
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 14 of 40 PageID #:43
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 15 of 40 PageID #:44




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Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 16 of 40 PageID #:45
DocuSign Envelope ID: 48F3B7FA-B2DE-4424-B91C-69B929AE1584
            Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 17 of 40 PageID #:46
    UL RS IAA – RS v10
                 or deposited into a financial institution and account subject to any U.S. trade sanction law. The UL has the right to terminate the
                 Agreement immediately if it is prohibited by U.S. law from doing business with Assessor.

          3.4    Assessor shall prepare and maintain complete and accurate records and reports of all Assessments in such form and for such time
                 as designated by UL. Immediately after each Assessment, Assessor shall send the Assessment report to the individual,
                 department and location designated by UL. All air travel must be pre-approved by UL in advance. All approved air travel must
                 be arranged at the lowest available fare consistent with scheduling for work efficiencies.

          3.5    UL shall have all right, title and interest in all records and documents pertaining to the Assessments. All records and documents
                 that Assessor creates pertaining to the Assessments are "works made for hire" on behalf of UL within the meaning and purview
                 of Section 101 of the United States Copyright Act, 17 U.S.C. Section 101, and UL will be the copyright owner of such records
                 and documents. Upon UL's request, Assessor shall provide UL with all documents, information or assistance necessary to enable
                 UL to perfect and protect its copyrights in any materials produced as a result of this Agreement. All materials UL provides to
                 Assessor relating to the Assessments are property of UL, and Assessor may not sell or distribute the materials to any third parties.

          3.6    Assessor shall permit UL’s representatives, announced and unannounced, to attend the Assessments.

          3.7    Assessor shall inform UL in writing of the name of the person who will act as the Assessment coordinator and the names of the
                 persons who will conduct the Assessments. Upon request, Assessor shall provide UL with curriculum vitae of its personnel who
                 will conduct Assessments. Only personnel who have UL's prior written approval shall perform the Assessments. Assessor shall
                 notify UL in advance of any proposed change in personnel conducting Assessments. At UL's request, Assessor shall promptly
                 replace any of its personnel who conduct Assessments for UL. Assessor shall not use subcontractors to perform Assessments
                 without UL's prior written consent.

          3.8    UL is entitled to inspect and review all services provided under this Agreement for conformity with Assessor’s obligations under
                 this Agreement.

    4.    Marks - No licenses, express or implied, for any trademarks, service marks, certification marks (collectively referred to as “Marks”) or
          copyrights are granted to either party or any third party. Assessor shall not authorize any person to use UL’s Marks. Each party will be
          solely responsible for authorization, use and control of its marks. However, each party agrees to notify the other if it is learned that a
          third party's use of the other party's mark is improper.

    5.    Advertising and Promotion - Assessor may not refer to itself as a UL "accredited" organization. Assessor may not refer to or use UL's
          name, or any name of any subsidiary or affiliate of UL, or any UL Mark in advertising, promotions or otherwise orally or in written
          materials, including, specifically, but not limited to, business cards, except with UL's prior written consent.

    6.    Fees and Expenses - UL shall invoice its Clients directly and pay Assessor for each Assessment completed at least at the minimum of
          the rates provided in Schedule A within fifteen (15) days of receiving Assessor's invoice and/or required supporting documentation.
          Rates paid are subject to change based on location and complexity of the Assessment and will be made known to Assessor prior to such
          Assessment taking place.

    7.    Confidentiality

          7.1    Assessor shall not voluntarily disclose information obtained by Assessor from UL or its client(s) (“Confidential Information”)
                 to any third party, without the prior written consent of UL. The term “Confidential Information” as used herein means and
                 includes any and all data or information and documentation relating to the business of UL or its client(s) that is not generally
                 known to the public or readily obtainable from outside sources. Confidential Information includes, by way of example and
                 without limitation, the following: financial information, including but not limited to earnings, assets, debts, prices, cost
                 information, budgets, sales and profit projections or other financial data; information used in the preparation and auditing of
                 financial statements; marketing information, including but not limited to details about ongoing or proposed marketing
                 strategies, marketing forecasts, or information about impending transactions; product information, including but not limited to
                 development plans, product designs, product costs and pricing policies; information regarding actual or potential customers;
                 employee information, compensation information and recruiting plans. Assessor acknowledges that such information is
                 confidential whether or not such information is labeled as such by UL or UL’s client(s). Assessor may disclose audit results to
                 UL and its client(s) immediately upon the completion of the audit. Assessor shall protect Confidential Information with the
                 same degree of care that it uses to protect its own confidential information of a similar nature and never use less than a
                 reasonable degree of care to protect Confidential Information, which may include requiring its employees, if any, to sign
                 appropriate nondisclosure agreements to comply with the terms of this Agreement.

          7.2    Confidential Information shall not include information or material that is (a) in the public domain other than due to a violation
                 of this Agreement; (b) documented by competent evidence to be known to Assessor before disclosure by Assessor under this
                 Agreement and without violation of any confidentiality obligation owed to UL or any third party; or (c) independently developed
                 by Assessor without reference or access to the Confidential Information, as demonstrated by competent evidence. If Assessor is

                                                                     Page 2 of 7
DocuSign Envelope ID: 48F3B7FA-B2DE-4424-B91C-69B929AE1584
            Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 18 of 40 PageID #:47
    UL RS IAA – RS v10
                 required by law or regulatory authority to disclose any Confidential Information, Assessor shall: (a) promptly notify UL in
                 writing upon receipt of the request; (b) reasonably assist the UL to obtain a protective order or other remedy of UL's election; (c)
                 provide UL prior review of any disclosure; (d) provide only that portion of the Confidential Information that is legally required;
                 and (e) make reasonable efforts to obtain reliable assurance that the Confidential Information shall be maintained in confidence.

          7.3    Assessor agrees that all aspects of the services performed on behalf of UL and its clients, including without limitation the number
                 and frequency of Assessments, shall be kept confidential.

          7.4    Assessor hereby authorizes UL to transmit unencrypted confidential information and other information through the Internet or a
                 public network to e-mail addresses or other locations provided by Assessor. Assessor acknowledges that the UL cannot guarantee
                 the privacy and confidentiality of such transmissions. Assessor agrees that UL’s transmission of confidential information via the
                 Internet of other public network shall not be a breach of any confidentiality obligation under this Agreement and that UL shall
                 not be liable for any damages resulting from such transmissions.

    8.    Independent Entities - The assessor is an independent person/entity and is not affiliated with or influenced or controlled by
          manufacturers, producers, suppliers or vendors of products or consultants in any manner that might affect their capacities to render
          reports of findings impartially, objectively and without bias. Specifically, he/she represents and warrants that, during the term of this
          Agreement:

          (a)    there shall be no managerial affiliation with manufacturers, producers, suppliers or vendors or consultants;

          (b)    the results of his/her work shall accrue no financial benefits via stock ownership or the like to any manufacturers, producers,
                 suppliers or vendors or the assessors consulting firm for the audits or products involved;

          (c)    there shall be a sufficient breadth of interest or activity such that the loss or award of a specific contract to determine compliance
                 of a manufacturer’s, producer's, supplier's or vendor's facility or product with the applicable requirements or standards would not
                 be a determinative factor in their financial well-being; and

          (d)    his/her employment security status shall be free of influence or control of manufacturers, producers, suppliers and vendors.

    9.    Nature of Relationship

          9.1    The parties intend to create only an independent contractor relationship. This Agreement shall not create an agency or
                 employment relationship, partnership, joint venture, or other business group or concerted action between the parties. Assessor
                 acknowledges that at no time will it consider itself to be an employee, agent, partner or joint ventureer of UL. Neither party is
                 authorized to incur any obligations on behalf of, or to bind the other in any respect. UL will not exercise any control over the
                 manner and means by which Assessor performs the Assessments. Assessor understands that Assessor is not entitled to any of
                 the rights, benefits, or compensation extended by UL to its employees.

          9.2    Each party and each party's personnel, if such exists, shall at all times be under that party's exclusive direction and control and
                 shall not be employees of the other party. Where applicable each party shall pay all wages, salaries and other amounts due its
                 employees in connection with Assessments performed under this Agreement and without limitation shall be responsible for all
                 reports and obligations respecting their relationship. Prior to entering into this Agreement and once yearly thereafter, for
                 each individual that Assessor employs that renders services to UL, Assessor shall provide UL with evidence of payment
                 of wages, salaries, benefits, contributions to social security, and/or any other payments Assessor is required by law to pay
                 its employees. UL will not pay any fees due to Assessor until evidence satisfactory to UL has been provided.

          9.3    Assessor agrees that no income, social security, or other taxes or amounts shall be withheld or accrued by UL for Assessor’s
                 benefit. Assessor will be responsible for withholding, accruing, reporting, and paying all income, social security, and other taxes
                 and amounts required by law for all compensation hereunder. Assessor agrees to indemnify, defend and hold harmless UL for
                 any claims, losses, costs, fees, liabilities, damages or injuries arising out of Assessor’s breach of this section. Assessor agrees
                 that UL makes no representations or warranties regarding the taxability of the sums received by Assessor.

          9.4    Assessor acknowledges and agrees that UL had its own pre-existing relationship with UL Clients (as defined in paragraph 1.1,
                 above.) Assessor acknowledges and agrees that UL has introduced and/or will introduce Assessor to UL Clients and that the
                 Assessor would not have been able to have a business relationship with any UL Client without UL’s disclosure. Assessor agrees
                 that, during the term of this Agreement and for a period of two (2) years after the last day it is on a UL related assignment, it will
                 not solicit, accept business from or conduct any work related to the work it conducts under this agreement for any UL Client, on
                 behalf of any entity or individual other than UL.




                                                                      Page 3 of 7
DocuSign Envelope ID: 48F3B7FA-B2DE-4424-B91C-69B929AE1584
            Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 19 of 40 PageID #:48
    UL RS IAA – RS v10
    10.   Conflict of Interest – Assessor: (i) shall not use its position for personal financial gain; (ii) shall not accept any personal advantage
          from anyone under circumstances which might reasonably be interpreted as an attempt to influence the recipients in the conduct of their
          duties; (iii) shall not extend any special favor to employees of UL under circumstances which might reasonably be interpreted as an
          attempt to influence them in the conduct of their duties; (iv) shall not have been involved in any way with designing the product, process
          or system to be assessed; and (v) if an agent authorized by an UL client(s), shall not have any crossover or sharing of information
          between its employees who conduct Assessments and its employees who act as agents authorized by an UL clients. Assessor must
          immediately disclose to UL actual or potential conflicts of interest, including any business relationship and/or any financial interest of
          an UL employee in the Assessor’s business.

    11.   Insurance - Without limiting in any way Assessor's indemnification obligations under this Agreement, Assessor shall maintain adequate
          insurance and limits of liability including but not limited to automobile coverage and where possible general and professional liability
          coverage. Assessor shall name UL as an additional insured on each policy and shall provide to UL upon its request the Certificate(s) of
          Insurance evidencing all coverage(s). Assessor shall notify UL in writing no later than ten (10) days before any policy for the required
          insurance is canceled or modified.

    12.   Indemnification - Assessor agrees to assume all risk of loss and to defend, indemnify and hold harmless UL, its successors and assigns,
          members, trustees, officers, employees and agents from and against any and all liabilities, demands, claims, suits, losses, damages,
          causes of actions, fines or judgments, including costs, attorneys' and witnesses' fees of counsel of the UL Contracting Party’s choosing
          for injuries to persons (including death) and for loss of, damage to or destruction of property (including property of the UL's clients)
          due to the Assessor’s gross negligence or willful misconduct arising in connection with the Assessment or this Agreement, unless caused
          by UL’s gross negligence or willful misconduct.

    13.   Governing Law       Unless specifically prohibited by law, the parties agree that the laws of the State of Oregon, USA will apply to this
          Agreement, without reference to its choice of law principles.

    14.   Termination

          14.1   Either party may terminate this Agreement upon thirty (30) days' written notice.

          14.2   UL shall have the right to terminate this Agreement immediately if any of the following events occur: (i) Assessor fails to
                 comply with any provision of this Agreement; (ii) Assessor suspends its payments, is bankrupt, is unable to pay debts when due,
                 enters into liquidation or takes or suffers any similar action in consequence of its debts, whether voluntary or compulsory; (iii) a
                 change in ownership of a controlling interest in Assessor, without UL's prior written consent; (iv) any misrepresentation by
                 Assessor in connection with this Agreement; or (v) any trade sanction or embargo is imposed by the U.S. government upon the
                 country in which Assessor is located or incorporated; or (vi) failure to meet ethical and impartiality standards of care.
          14.3   Upon termination of this Agreement, Assessor will discontinue Assessments and shall promptly deliver to UL all records and
                 documents in connection with Assessments performed for the UL, as well as all documents, equipment, and other UL property
                 UL had provided to Assessor.
          14.4   The provisions of Paragraphs 7 (Confidentiality), 12 (Indemnification), 14 (Resolving Disputes), 18 (No Waiver), 20 (No Third-
                 Party Beneficiaries), 22 (Notice) and 23 (Severability) shall survive the termination of this Agreement.

    15.   Country Specific Terms and Conditions - If there are changes to the terms of this Agreement for countries outside of the United
          States, then those terms will be set forth in Schedule B of this Agreement and supersede any conflicting terms in this Agreement. All
          other terms and conditions in this Agreement remain in full force and effect.

    16.   Entire Agreement - This Agreement constitutes the entire understanding of the parties and supersedes all prior communications,
          understandings, representations, negotiations and discussions, written or oral, between the parties regarding its subject matter. If any
          purchase order submitted in connection with this Agreement conflicts with this Agreement, this Agreement shall prevail.

    17.   No Waiver - A party's failure to insist upon the other party's performance of this Agreement or any of its provisions shall not constitute
          a waiver of any rights under the Agreement.

    18.   No Assignment - Neither party may assign or transfer, in whole or in part, its rights under this Agreement without the other party's
          written consent. Notwithstanding the foregoing, UL may assign or transfer, in whole or in part, its obligations under this Agreement to
          a UL Contracting Party parent, subsidiary, branch or affiliate solely at the discretion of UL and without notice.

    19.   No Third-Party Beneficiaries - No provision of this Agreement shall in any way inure to the benefit of any third person so as to make
          any such person a third-party beneficiary of this Agreement or otherwise give any third party any claim under this Agreement.

    20.   English Language - All communications, written or oral, between the parties shall be in English. This Agreement shall be executed in
          the English language and shall govern in the event that any translation of this Agreement is made.


                                                                     Page 4 of 7
DocuSign Envelope ID: 48F3B7FA-B2DE-4424-B91C-69B929AE1584
            Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 20 of 40 PageID #:49
    UL RS IAA – RS v10
    21.     Notice - All notices required to be given under this Agreement shall be in writing executed by an authorized person and shall be delivered
            by hand, by certified or registered mail (or an equivalent), return receipt requested, courier or facsimile (if confirmed by receipt). Notice
            shall be deemed to have been made, in the case of facsimile, upon confirmed receipt, and in the case of mail or courier, upon the earlier
            of (i) receipt or (ii) five (5) days after such notice is deposited in the mail to the address shown below:

            UL Responsible Sourcing Inc.                                 with copy to:       UL LLC
            Attention: Director Operations & Quality                                         Attention: General Counsel
            333 Pfingsten Road                                                               333 Pfingsten Rd.
            Northbrook, Illinois 60062                                                       Northbrook, IL 60062
                                                                                             Fax (847) 498-3789

    22.     Severability - A judicial or administrative declaration in any jurisdiction of the invalidity of any one or more provisions of this
            Agreement shall not invalidate the remaining provisions of this Agreement, nor shall such declaration have any effect on the validity or
            interpretation of this Agreement outside of that jurisdiction.

    The undersigned represent and warrant that they are authorized to execute this Agreement; that they have read the Agreement and understand
    its terms; that they have had access to legal counsel; and that they intend to be legally bound.

    WE AGREE TO THE TERMS AND CONDITIONS SET FORTH ON EACH PAGE OF THIS AGREEMENT AND WARRANT
    THAT NO ALTERATIONS OF ITS TEXT HAVE BEEN MADE WITHOUT UL'S PRIOR WRITTEN CONSENT.

      UL Responsible Sourcing Inc.                                                    Joshua Callington
                                                                                      (Assessor’s Complete Legal Name or Complete Legal Company
                                       :

      By:                                                                  By:
                                                                                                                   (Signature)
      Name:       Jorge Carrillo                                           Name:      Joshua Callington
                                                                                                                 (Typed Name)
      Title:      Operations Manager, North & Latin America                Title:
                  UL Responsible Sourcing                                             CSR Auditor
                                                                                                




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DocuSign Envelope ID: 48F3B7FA-B2DE-4424-B91C-69B929AE1584
            Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 21 of 40 PageID #:50
    UL RS IAA – RS v10
                                         SCHEDULE A TO INDEPENDENT ASSESSOR AGREEMENT

                                             Between UL CONTRACTING PARTY and ASSESSOR

    1.        Assessment Service: If more than one type of service is to be provided and the fee schedule or the insurance is dependent on the
              type of service provided, the Schedule A must state which fee schedule and/or insurance is applicable to each service. If only one
              type of service is provided or the fee schedule and insurance is the same for all services provided, then Schedule A does not need to
              mention the type of service(s) to which the fee schedule and insurance is applicable.

    2.        Fee Schedule: Fees will be negotiated by assessment and will vary according to its location, duration, scope and complexity.
              Minimum fee ranges are as follows:

              UL R agrees to compensate the Contractor for all UL R requested services provided by the Contractor at the agreed person-day rate,
              as shown below:

                   x            per audit manday with Contractor being responsible for                        / person-day
                       all Insurance Coverage of rental vehicles




              Notes (must complete or put “n/a”):

         a.   No report writing will be billed to UL R unless previously agreed by UL Responsible Sourcing.
         b.   No travel time will be paid unless previously agreed by UL Responsible Sourcing in advance of the audit.
              All reasonable travel and incidental expenses incurred by the Contractor in order to undertake a project requested by UL
              Responsible Sourcing will be reimbursed upon presentation of proper documentation of those expenses and in accordance with the
              guidelines including but not limited to:
                   x   Lodging – actual amount reimbursed for an “average” or 3 star hotel or for any accommodations.
                   x   Meals – single day, lunch only up to $USD _N/A_ per day, or overnight if required by UL Responsible Sourcing. Actual
                       amount reimbursed up to $USD _$50.00_ / day
                   x   Air Travel – non-refundable coach airfare reimbursed in full – if cancelled UL Responsible Sourcing will reimburse the
                       auditor for unused tickets or cost for re-issue.


              The Contractor agrees to submit invoices and all required Audit documentation directly to UL Responsible Sourcing within 48
              hours or 2 business days from completion of the assigned audit. UL Responsible Sourcing shall reimburse the Contractor for all
              completed services as assigned by UL Responsible Sourcing within 3 weeks from receipt of the Contractor’s invoice. Failure to
              submit the required audit report within the specified 2 business days of completion of the audit may result in delayed payment of
              contractors invoice and may further cause up to a 20% reduction of the amount paid to the auditor for failure to report on time. Any
              deductions for failure to submit the audit report timely will be at the sole decision of UL Responsible Sourcing.

    3.        Insurance (must complete or put “n/a”):

              A.       Home Owners/Business Owners/Professional Liability:
                                         
                       Policy Nos.
                                Limits

              B.       Automobile Liability:
                       Policy No.                     
                       Limits:
                                Bodily Injury:        !  
                                Property Damage:       ! 


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DocuSign Envelope ID: 48F3B7FA-B2DE-4424-B91C-69B929AE1584
            Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 22 of 40 PageID #:51
    UL RS IAA – RS v10
                                                                                       _______________________Initials
                                                                                          (UL Responsible Sourcing Inc.)


                                                                                       _______________________Initials
                                                                                                           (Assessor)
                                                                                      
                                                                           Date: ________________________________




                                                             Page 7 of 7
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 23 of 40 PageID #:52




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Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 24 of 40 PageID #:53
   Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 25 of 40 PageID #:54




The actual amount of your incentive award payment will be determined in line with the Plan and you must
be actively employed at the time of payout to be eligible for any payment. If your hire date is October 2 or
later, your actual consideration for incentive award eligibility begins January 1 of the next calendar year.

Ethics & Privacy
You agree that during your employment you will maintain the highest ethical standards in all aspects of
your work. You have read, understand and agree to comply with UL's Standards of Business Conduct.
Further, you agree that you will comply with the foreign corrupt practices laws, regulations, and other
legal requirements including the U.S. Foreign Corrupt Practices Act and UK Bribery Act.

You consent to us:

• Collecting personal information about you from time to time for our personnel administration purposes.

Conflict of Interest
You agree that during your employment you will always act in the best interests of UL to avoid any actual
or potential conflicts of interest that may influence you in the performance of your job. You also agree that
if you do encounter an actual or potential conflict of interest, you will inform your manager immediately. In
addition, you are prohibited from performing certain activities listed below for any Customer of UL with
whom you have had a prior working relationship during the two years immediately preceding the project
submittal to UL. A prior working relationship with a UL Customer is defined as any capacity wherein you
were considered an employee or consultant of the UL Customer or provided consultancy services to the
UL Customer.

Specific activities that cause a conflict of interest are:

• Performing the final review of, or making the certification decision for, any product or management
system submitted by a UL Customer with whom you’ve had a working relationship during the two years
immediately preceding the project submittal to UL, and/or,

• Participating in the resolution of any complaint or appeal filed by a UL Customer with whom you’ve had
a working relationship during the two years immediately preceding UL’s receipt of the complaint or
appeal.

Non-Compete
You agree that during your employment with UL and for a period of one (1) year following the termination
of your employment with UL for any reason, you will not, without the express written consent of the
President of UL, be employed by, consult with or manage any business entity or person involved in
activities which are competitive with UL.

Non-Solicitation
You agree that during your employment and for a period of six (6) months following the termination of
your employment for any reason, you will not directly or indirectly solicit any other employee to leave the
services of UL.

Other Employment
You are required to devote your full time, attention and abilities to UL and to act in the best interests of
the company. You shall not take up any other employment whether full-time or part-time without prior
written approval of UL.

Employment Offer is Subject to:

• Employee Manual, which may be changed from time to time upon the sole discretion of UL.
   Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 26 of 40 PageID #:55




• Satisfactory references, checks and proven legal eligibility to work in the country of employment.

• Successful completion of our pre-employment procedures, which include:

  − Background Investigation
  − Driving Abstract

• Execution of the attached Confidentiality and Invention Assignment Agreement.

Attachments:

• Standards of Business Conduct.

• Confidentiality and Invention Assignment Agreement.


Working at UL is an exciting journey that twists and turns every day. We thrive in the twists and
revel in the turns. This is our everyday. Welcome!

Sincerely,


Marina Jovanovic
Recruiter


                           Signature JOSHUA CALLINGTON 4/30/2019 3:31 PM
                 (checking the checkbox above is equivalent to a handwritten signature)

Confidentiality & Invention Assignment Agreement
Standards of Business Conduct
      Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 27 of 40 PageID #:56




                          CONFIDENTIALITY AND INVENTION ASSIGNMENT AGREEMENT

In consideration for my employment with UL Inc. (together with all other Affiliates (defined below), “UL”), I hereby
agree to the following terms of this Confidentiality and Invention Assignment Agreement (“Agreement”):

1. I understand that during my employment with UL Inc. or any corporation, partnership, limited liability company, limited
liability partnership, association, trust or other organization that directly or indirectly controls, is controlled by or is under
common control with UL Inc. (collectively, Affiliates”; for purposes of this definition, “control” (including, with correlative
meanings, the terms “controlled by” and “under common control with”), as used with respect to any entity or organization, shall
mean the possession, directly or indirectly, of the power (a) to vote more than 50% of the securities having ordinary voting power
for the election of directors of the controlled entity or organization or (b) to direct or cause the direction of the management and
policies of the controlled entity or organization, whether through the ownership of voting securities, by contract or otherwise), I
may receive, observe, or otherwise be exposed to confidential and proprietary information about UL, its affiliates, clients,
business partners, and/or other th ird parties to whom UL owes a duty of confidentiality (collectively, “Confidential
Information”). Confidential Information includes without limitation business plans and strategies, financial information, testing
procedures and equipment, Inventions (defined below) and client product information. During and after my employment with
UL, I will keep all Confidential Information in strict confidence and will not disclose it without UL’s prior written permission.
During my employment, I will use Confidential Information solely as necessary for the performance of my duties as a UL
employee and not for the benefit of any third parties, and I will not use Confidential Information after I am no longer a UL
employee.

2. Immediately upon demand by UL or termination of my employment for any reason, I will immediately deliver to UL
all Confidential Information and all documents, notes, analyses, computer files, storage devices and other items that include
Confidential Information that are in my possession. Following my termination for any reason, I hereby authorize UL to notify my
future employers of the terms of this Agreement and my responsibilities set forth herein.

3. All discoveries, ideas, inventions, improvements, processes, works of authorship, software, work product, designs, know how,
trade secrets and Confidential Information that I create, conceive or first reduce to practice (whether alone or with others) during
or within 6 months after my employment with UL (collectively, “Inventions”) are the sole and exclusive property of UL. To the
extent legal title to all such Inventions does not automatically vest in UL under applicable law, I hereby irrevocably assign (and
agree to assign in the future) to UL, its successors and assigns all worldwide right, title and interest in and to such Inventions and
all patent, copyright, trademark and other intellectual property rights therein. The assignment above does not apply to any
Inventions for which no equipment, supplies, facility, or trade secret information of UL was used and which was developed
entirely on my own time, unless (a) the Invention relates (i) to the business of UL or its affiliates, or (ii) to UL’s or its
affiliates’ actual or demonstrably anticipated research or development, or (b) the invention results from any work I performed
for UL or its affiliates.

4. I will promptly and fully disclose to UL all Inventions, and I will assist UL to obtain and enforce the intellectual property
protection for all Inventions anywhere in the world. During and after my employment with UL, I will sign all applications,
declarations, assignments and other documents and provide testimony and other assistance that UL may reasonably request to obtain
such protection. I hereby grant UL a power of attorney to effectuate this Agreement in the event I am unable or unwilling to provide
the foregoing in the future. During and after my employment with UL, I hereby waive and agree never to assert any “Moral Rights”
or any other similar right to claim authorship, object or prevent modification, or control the publication or distribution with respect
to any copyrightable works within Inventions.

5. I represent that my performance of this Agreement and my responsibilities as an employee of UL will not breach any similar
agreement with any former employer or other party, and that I will not use or disclose any trade secrets or proprietary or confidential
information from any former employer or third party during my employment with UL. I also represent that I will not bring with me
to UL or use during my employment with UL any property of a former employer that would not generally be available to the public
or has not been legally transferred to UL. I will not use or incorporate any of my pre-existing or independently-created
intellectual property with or into any Inventions, but in the event I do so I hereby grant UL a non-exclusive, worldwide, fully-paid,
royalty-free, irrevocable, perpetual, transferable and sublicensable license to use such intellectual property in connection with such
Invention(s).

6. I understand that any breach or threatened breach of this Agreement by me may result in irreparable harm to UL or its affiliates,
business partners or clients. As such, UL and/or its affiliates are entitled to injunctive relief to enforce this Agreement.

7. This Agreement is the whole agreement of the parties concerning the subject matter hereof and supersedes and replaces any
existing agreement (written or oral) between the parties relating generally to the same subject matter. For the avoidance of doubt,
any separate employment agreement between the parties remains in full force and effect but this Agreement is not an employment
agreement. No amendments or modifications to this Agreement will be binding unless is in writing and signed by all parties. In the
event that any provision of this Agreement becomes or is declared by a court of competent jurisdiction to be illegal, unenforceable,
      Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 28 of 40 PageID #:57
or void, this Agreement shall continue in full force and effect without that provision. Any failure by UL to enforce any provision
of this Agreement shall not be construed as a waiver of UL’s right to enforce such provision. All waivers must be in writing and
signed the party granting the waiver. This Agreement will be governed and interpreted under Illinois law without regard to or
application of conflict of laws principles. UL may freely assign or otherwise transfer this Agreement in whole or in part. This
Agreement shall be binding upon the parties’ heirs, successors and assigns.

AGREED AND ACCEPTED:
                                                                  UL Inc.

_______________________________________                           _______________________________
Name:                                                             Name:
Date:                                                             Title:
                                                                  Date:
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 29 of 40 PageID #:58




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       Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 30 of 40 PageID #:59
                                                      Legal                       Document Number: 00-LE-P0400
                                                                                  Issue #: 5.0
                                                                                  Issued Date: 2010/9/3
                                                                                  Revision Date: 2017-12-20
                                                                                  Effective Date: 2017-12-20
                                                                                  Page 1 of 7


                              CONFIDENTIAL INFORMATION AND TRADE SECRETS POLICY



Approval and Revision History Table:



ISSUE 5.0: ADDED TEXT TO THE DEFINITION OF CUSTOMER INFORMATION TO STATE THAT SUCH
INFORMATION MAY BE OBTAINED FROM THE CUSTOMER OR FROM OTHER SOURCES. REPLACED
ROBERT JAMIESON WITH MANNY SINGH AS REVIEWER.

ISSUE 4.1: UPLOADED TRANSLATIONS OF POLICY ONLY.

ISSUE 4.0: REVISIONS TO POLICY INCLUDING REFERENCE TO THIRD PARTIES. REMOVED APPROVER
AND ADDED REVIEWER.

ISSUE 3.0: REVISIONS TO POLICY ADDING VISITOR AGREEMENT AND REFERENCING NEW GLOBAL
HANDLING VISITORS TO UL FACILITIES POLICY. CHANGE APPROVER FROM CHRIS GANGEMI TO
TERRENCE R. BRADY AND ADD STEPHEN H. WENC AS AN APPROVER.

ISSUE 2.0: REVISIONS TO POLICY PROVIDING FURTHER CLARIFICATION ABOUT TYPES OF
CONFIDENTIAL INFORMATION AND STEPS TO BE TAKEN TO AVOID DISCLOSURE.

ISSUE 1.0: INITIAL RELEASE
Title: Vice President,                                  Title SVP, Chief Ethics &               Title: IT Director (Reviewer)
Intellectual Property and                               Compliance Officer
                                                                                              Name: Manny Singh 2017-11-
Litigation                                              (Approver)
                                                                                              28
(Document Owner)
                                                        Name Terrence R. Brady
Name Paul Brown
                                                        2017-11-28
2017-09-12




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    Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 31 of 40 PageID #:60
                                                                                                                                         Page 2 of 7
TITLE: CONFIDENTIAL INFORMATION AND TRADE SECRETS POLICY
Document Number: 00-LE-P0400 – Issue 5.0



                                                           TABLE OF CONTENTS




     1.0      PURPOSE ............................................................................................................................... 3
     2.0      SCOPE.................................................................................................................................... 3
     3.0      DEFINITIONS .......................................................................................................................... 3
     4.0      OBLIGATIONS UNDER THIS POLICY.................................................................................... 4
     4.1         Treatment of Confidential Information and Trade Secrets ..................................................... 4
     4.2         Additional Protection for UL Trade Secrets........................................................................... 6
     5.0      REPORTING A SUSPECTED DISCLOSURE OR SEEKING GUIDANCE................................ 6
     6.0      CONSEQUENCES OF POLICY VIOLATION........................................................................... 7
     7.0      APPLICABLE DOCUMENTS .................................................................................................. 7




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    Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 32 of 40 PageID #:61
                                                                                                                 Page 3 of 7
TITLE: CONFIDENTIAL INFORMATION AND TRADE SECRETS POLICY
Document Number: 00-LE-P0400 – Issue 5.0


     1.0      PURPOSE
              Confidential Information (including Trade Secrets) is critically important to UL and its business.
              The purpose of this policy is to provide direction on how to protect Confidential Information from
              unauthorized use or disclosure.

     2.0      SCOPE
              This policy applies to all employees, staff and trustees of Underwriters Laboratories Inc. and its
              affiliates and subsidiaries.

     3.0      DEFINITIONS
              Confidential Information: Information about UL, its customers, employees, suppliers and other
              parties with which we conduct business that is not generally known or readily available to the
              public. Such information may be marked “Confidential,” “Proprietary,” “Restricted”, “Trade
              Secrets,” “For Internal Use Only” or similar wording, or if not marked, it is reasonable to expect
              from the nature of the information that the owner would treat it as confidential. If the confidential
              information is disclosed, it could reasonably be expected to place either the person or the entity
              at risk of criminal or civil liability or damage the person or entity’s financial standing, employability,
              privacy or reputation. Confidential Information can be obtained (and improperly disclosed) in a
              variety of ways including verbally, physically (e.g., paper/hard copy documents or product
              samples), and electronically (e.g., email, Word, PDF and PowerPoint documents, file transfers,
              computer code, etc.).

              If there is any doubt whether something is Confidential Information, you should err on the side of
              assuming that it is, and please contact UL’s Legal Department for further guidance.

              Confidential Data/Information includes but is not limited to the following:

              Customer Information including but not limited to information about submissions, test records,
              test reports, status of testing of products, inspection reports, audit reports, product incident
              reports, product samples, prototypes, technical information, schematics, and drawings.
              Customer Information may be obtained directly from the customer, or from sources other than
              the customer.

              UL Information including but not limited to technical information such as engineering ideas,
              software, test processes and methodologies, test equipment and fixtures, policy submissions to
              the U.S. and other governments, President or other Officer Messaging, and internal Standard
              Operating Procedures and Policies.

              Employee Information including payroll records, salary and non-public benefits information,
              social security numbers, driver’s license numbers, state identification card numbers, passport
              numbers, credit and debit card information, medical records or medical information, and other
              personally-identifiable information.

              Financial Information including but not limited to Chief Financial Officer reports, sales
              projections, and financial analyses.

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    Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 33 of 40 PageID #:62
                                                                                                                 Page 4 of 7
TITLE: CONFIDENTIAL INFORMATION AND TRADE SECRETS POLICY
Document Number: 00-LE-P0400 – Issue 5.0


              Marketing and Business Information including but not limited to strategic business initiatives,
              program elements, plans for new and/or current products or services, contractually negotiated
              costs and rates, marketing plans, details about mergers, acquisitions of, partnerships or alliance
              with other companies and plans to enter into any of the foregoing.

              Trade Secrets: Confidential Information that is commercially valuable because it is not available
              to the public, and reasonable efforts are made to keep it secret. Although all Trade Secrets are
              Confidential Information, not all Confidential Information rises to the level of a Trade Secret. UL
              Trade Secrets may be marked “Proprietary,” “Trade Secrets,” “For Internal Use Only” or
              something similar. Information may also be identified as a UL Trade Secret by one or more of
              the following characteristics: (A) It is reasonable to expect from the nature of the information that
              UL would treat it as a trade secret; (B) the information is valuable in UL’s business; (C) the
              information is not generally known and UL tries to keep it confidential; and (D) the information
              gives UL a competitive advantage to keep this information to itself.

              If there is any doubt whether something is a Trade Secret, you should err on the side of assuming
              that it is, and please contact UL’s Legal department for further guidance.

     4.0      OBLIGATIONS UNDER THIS POLICY

     4.1      Treatment of Confidential Information and Trade Secrets
               To carry out our Public Safety Mission, our company depends on confidential and proprietary
               information about our services and business processes, as well as Confidential Information
               from our customers and other third parties. UL takes very seriously our responsibility to
               safeguard this Confidential Information. Unauthorized use or disclosure of Confidential
               Information may harm UL or those parties that have entrusted us with their Confidential
               Information, and can subject UL to legal liability. Each employee has a duty to use
               Confidential Information properly and to protect it against unauthorized disclosure.

               This includes taking steps to avoid inadvertent or “accidental” disclosures.

               We cannot identify every situation where Confidential Information or trade secrets are
               involved. However, when working with any information at UL, follow these general guidelines:

                   x     When working with client Confidential Information:
                        o   Refer to UL’s Enterprise Information Security Policy for specific steps to safeguard
                            information.
                        o   Mark all customer Confidential Information with the words “Confidential” or
                            “Restricted”.
                        o   Treat all Confidential Information relating to a customer’s project or file as
                            confidential to that customer unless the customer has specifically released the
                            Confidential Information to another party. This includes even the fact that the product
                            or service has been submitted for evaluation by UL.
                        o   Determine if an NDA (nondisclosure agreement) or confidentiality agreement exists
                            for the particular client. If so, review this agreement with your management or the
                            Legal Department to ensure all aspects of the agreement are understood and
                            followed.
                        o   Only access client Confidential Information to the extent that you have a legitimate
                            business need for that Confidential Information and only disclose this Confidential
                            Information within UL to others who have the same business need.
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    Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 34 of 40 PageID #:63
                                                                                                                 Page 5 of 7
TITLE: CONFIDENTIAL INFORMATION AND TRADE SECRETS POLICY
Document Number: 00-LE-P0400 – Issue 5.0


                        o   Do not disclose any Confidential Information for component files to an end-user
                            unless specific authorization to provide the Confidential Information has been
                            received from the component file owner.
                        o   Do not disclose audit or follow-up service dates unless required to do your job and
                            with proper authorization.
                        o   Do not use Confidential Information of a UL customer in providing professional
                            services to a different UL customer unless specifically authorized.
                        o   Prior to sending an email, review all names that will receive the email to ensure that
                            they are all authorized to receive the content.

                   x     When working with UL Confidential Information:
                        o Mark all UL Confidential Information with the words “Proprietary” or “Restricted” and
                           “For UL Internal Use Only”
                        o Never use any Confidential Information for your personal gain or other purpose

                   x     When working with employee Confidential Information:
                        o   Ensure personal information about UL employees such as payroll data, benefits
                            claims, and other confidential personal information is only disclosed to those persons
                            who are entitled by official duties to receive the information
                        o   Forward any subpoena or official request for employee information to the Legal
                            Department.
                       o    Discuss with Human Resources when a request to provide employee confidential
                            information has been received.

                   x    When working with customers, contractors/third parties or other visitors to UL’s
                        facilities:
                       o Read and follow the Handling Visitors to UL Facilities Policy (00-FM-P0851).
                       o For customers, a GSA contains nondisclosure language.

                   x    When performing your daily activities:
                       o Think before discussing information with a third party. If Confidential Information
                          must be disclosed to a third party, ensure that the appropriate authorization is in
                          place.
                       o Only access and use Confidential Information for the sole purpose of performing your
                          job-related duties.
                       o Do not leave Confidential Information unattended where it can be easily viewed or
                          accessed, such as sitting on your desk or computer screen, at the copier, in
                          conference rooms after meetings are over, or other publicly accessible areas.
                       o Securely store documents, lab notebooks, hard and flash drives, test equipment and
                          prototypes, and all other physical items containing Confidential Information, such as
                          in locked drawers and cabinets.
                       o Password protect computers, servers, directories and files containing Confidential
                          Information and do not share the passwords with anyone within or outside UL.
                       o When no longer needed, shred or otherwise securely destroy Confidential
                          Information, unless required to keep under UL’s Global Records Policy and
                          Retention Schedule. All data/information intended for disposal must be properly
                          shredded and/or deleted. Data on magnetic media such as hard disks, tapes, CDs,
                          or removable storage devices shall be “destroyed” by physical shredding, multiple

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    Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 35 of 40 PageID #:64
                                                                                                                 Page 6 of 7
TITLE: CONFIDENTIAL INFORMATION AND TRADE SECRETS POLICY
Document Number: 00-LE-P0400 – Issue 5.0


                            reformatting (three or more times), or degaussing (for additional information refer to
                            the Enterprise Information Security Policy).

                   x     When you are outside of the office:
                        o Avoid discussing or accessing Confidential Information in public places such as
                           trains, airplanes, elevators, and restaurants
                        o Do not share Confidential Information with friends and family
                        o Do not post Confidential Information on any website or social networking site.
                        o Ensure that your laptop and other electronic devices are not left in an unsecured
                           area.
                        o Immediately notify UL if your laptop or other UL issued electronic device has been
                           lost or stolen.

                   x     When leaving UL’s employment:
                        o   Return to UL all copies and other tangible items containing Confidential Information
                            you may have in your possession.
                        o   Continue to maintain the confidentiality of any Confidential Information.

              These guidelines apply to all forms of Confidential Information (whether verbal, physical/hard
              copy or electronic) throughout its entire life cycle (creation/acquisition, storage, usage,
              transmittal, retention, and disposal). Please remember that Confidential Information does not
              lose its status simply because it is part of an email or other informal communication or because
              it is converted or moved from one format to another.

     4.2      Additional Protection for UL Trade Secrets
              We must take extra care to protect UL Trade Secrets or they could be lost forever, causing UL
              immeasurable harm. In addition to following the guidelines listed above for Confidential
              Information, you should follow these extra steps for UL Trade Secrets:

              •    Only make as many copies of material containing Trade Secrets as is necessary for your
                   work at UL
              •    Restrict and control access (both physically and electronically) to Trade Secrets
              •    Mark materials containing Trade Secrets with the words “Proprietary” and “Trade Secrets”

              Additionally, from time-to-time UL may decide to file a patent on a UL Trade Secret that is a
              machine, device, process, method or other patentable invention. In many countries, public
              disclosure of an invention before a patent application is filed will result in the invention becoming
              unpatentable. Therefore, never publicly display or demonstrate any novel UL-developed
              prototype machines, methods, equipment or software without checking first with your manager
              and UL’s Legal Department.


     5.0      REPORTING A SUSPECTED DISCLOSURE OR SEEKING GUIDANCE
              If you know or suspect that Confidential Information has been or may be disclosed or accessed
              without authorization, you are required to contact UL’s Global Ethics Office by using any of the
              following resources:

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    Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 36 of 40 PageID #:65
                                                                                                                 Page 7 of 7
TITLE: CONFIDENTIAL INFORMATION AND TRADE SECRETS POLICY
Document Number: 00-LE-P0400 – Issue 5.0


                            o    Email Ethics@ul.com

                            o    Submit a web allegation or inquiry at www.ulglobalethics.com

                            o    Call the toll-free number in the US or Canada 1-800-715-7482 or visit
                                 www.ulglobalethics.com for international dialing instructions.

              UL will not tolerate retaliation toward or harassment of employees who in good faith report a
              suspected or knowing violation(s) of this policy. Individuals who take retaliatory action will be
              subject to disciplinary action up to and including termination.

              Please check with UL’s Legal Department for further guidance in the following situations:

              x    If you are unsure whether something is considered Confidential Information and/or a Trade
                   Secret

              x    If you wish to disclose Confidential Information and/or a Trade Secret outside of UL for a
                   justifiable business reason (you will also need approval from your manager and maybe
                   others)

              x    If you receive information or materials that you suspect may be Confidential Information of a
                   third party that did not approve the disclosure

              x    If you wish to display or demonstrate a prototype UL machine, piece of equipment, software
                   or process for a third party

              x    If you have any other questions or concerns involving Confidential Information and Trade
                   Secrets

     6.0      CONSEQUENCES OF POLICY VIOLATION

              A violation of this Policy is very serious and may result in disciplinary action, up to and including
              termination of employment.

     7.0      APPLICABLE DOCUMENTS
                  Doc. #                   Title
                  00-QA-P0026              Global Records Policy and Retention Schedule
                  00-IT-P0406              Enterprise Information Security Policy
                  00-FM-P0851              Handling Visitors to UL Facilities Policy




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Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 37 of 40 PageID #:66




         &9)*#*5
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 38 of 40 PageID #:67
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 39 of 40 PageID #:68
Case: 1:24-cv-05631 Document #: 1-1 Filed: 07/03/24 Page 40 of 40 PageID #:69
